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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


MOBILITY WORKX, LLC,
              Plaintiff,
                                                          Case No. 4:24-cv-00796-ALM
v.
                                                          JURY TRIAL DEMANDED
Ericsson, Inc.,              Defendant.


MOBILITY WORKX, LLC,
              Plaintiff,
                                                          Case No. 4:24-cv-00797-ALM
v.
                                                          JURY TRIAL DEMANDED
Nokia Corp. et al.,
                       Defendants.


MOBILITY WORKX, LLC,
              Plaintiff,
                                                          Case No. 4:24-cv-00798-ALM
v.
                                                          JURY TRIAL DEMANDED
Samsung Elecs. Co., Ltd. et al,
                     Defendants.


MOBILITY WORKX, LLC,
              Plaintiff,
                                                          Case No. 4:24-cv-00799-ALM
v.
                                                          JURY TRIAL DEMANDED
Cisco Systems, Inc.,
                       Defendant.


                             [PROPOSED] SCHEDULING ORDER

Tuesday, April 8, 2025               Initial Rule 16 Management Conference at 9:00am to be held
                                     via Zoom or telephone
Friday, April 25, 2025               P.R. 3-1 Disclosure of Asserted Claims and Infringement
                                     Contentions (and P.R. 3-2 document production) to be
                                     served.
Tuesday, May 13, 2025                Join Additional Parties.

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Tuesday, June 3, 2025              P.R. 3-3 Invalidity Contentions (and P.R. 3-4 document
                                   production) to be served. To extent not already required to be
                                   disclosed, exchange Mandatory Disclosures on all issues,
                                   including damages.
Wednesday, June 11, 20205          Parties to exchange proposed terms for construction and
                                   identify any claim element governed by 35 U.S.C. § 112, ¶ 6
                                   (P.R. 4-1).
Tuesday, July 1, 2025              Parties to exchange preliminary proposed claim construction
                                   and extrinsic evidence supporting same (P.R. 4-2).
Tuesday, July 22, 2025             Parties’ Final Amended Pleadings (A motion for leave is
                                   required).
Wednesday, July 30, 2025           Joint Claim Construction and Prehearing Statement to be
                                   filed (P.R. 4-3). Provide an estimate of how many pages are
                                   needed to brief the disputed claims.
Tuesday, August 5, 2025            Respond to Amended Pleadings.
Wednesday, August 13, 2025         Completion date for discovery on claim construction (P.R. 4-
                                   4).
Tuesday, August 26, 2025           Opening claim construction brief (P.R. 4-5(a)).
Wednesday, September 10, 2025      Submit technology synopsis/tutorial (both hard copy and
                                   disk).
Wednesday, September 24, 2025      Responsive claim construction brief (P.R. 4-5(b)).
Friday, September 26, 2025         Parties to file joint claim construction and chart (P.R. 4-5(d)).
                                   Parties shall work together to agree on as many claim terms
                                   as possible.
Wednesday, October 1, 2025         Reply claim construction brief (P.R. 4-5(c)).
Wednesday, October 8, 2025         Claim Construction hearing at 9:00 a.m. at the Paul Brown
                                   United States Courthouse, 101 E. Pecan Street, Sherman,
                                   Texas 75090.
Wednesday, November 12, 2025       Deadline for Initial Mandatory Disclosure of all persons,
                                   documents, data compilations and tangible things, which are
                                   relevant to a claim or defense of any party and which has not
                                   previously been disclosed. This deadline is not an extension
                                   of earlier deadlines set out in this court’s order or the Patent
                                   Rules, nor an excuse to delay disclosure of information. It is
                                   a “catchall” deadline for provision of all remaining
                                   information which may be relevant to a claim or defense of
                                   any party at trial.
Wednesday, November 12, 2025       Privilege Logs to be exchanged by parties (or a letter to the
                                   Court stating that there are no disputes as to claims of
                                   privileged documents).
Wednesday, November 12, 2025       Comply with P.R. 3-7. (Designation of Willfulness
                                   Opinions).
Friday, December 19, 2025          Parties with burden of proof to designate Expert Witnesses
                                   other than claims construction experts and provide their
                                   expert witness reports, to include for ALL experts all
                                   information set out in Rule 26(a)(2)(B).
Friday, January 23, 2026           Parties to Designate Expert Witnesses on issues for which the
                                   parties do not bear the burden of proof, and provide their
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                                   expert witness report, to include for ALL experts all
                                   information set out in Rule 26(2)(B).
Tuesday, February 10, 2026         Discovery Deadline
Friday, February 20, 2026          File Dispositive Motions and any other motions that may
                                   require a hearing. Regardless of how many dispositive
                                   motions a party files, each party is limited to a total of sixty
                                   pages for such motions. Each individual motion shall comply
                                   with Local Rule CV-7.

                                   Responses to motions shall be due in accordance with Local
                                   Rule CV-7(e).
Friday, February 20, 2026          Objections to opening and rebuttal experts, including Daubert
                                   motions. Such objections and motions are limited to ten
                                   pages each.
Monday, April 13, 2026             Notice of intent to offer certified records.
Monday, April 13, 2026             Counsel and unrepresented parties are each responsible for
                                   contacting opposing counsel and unrepresented parties to
                                   determine how they will prepare the Joint Final Pretrial Order
                                   (See www.txed.uscourts.gov) and Proposed Jury Instructions
                                   and Verdict Form (or Proposed Findings of Fact and
                                   Conclusions of Law in nonjury cases).
Friday, April 17, 2026             Motions in limine due.

                                   File Joint Final Pretrial Order. Exchange Exhibits and deliver
                                   copies to the court. At this date, all that is required to be
                                   submitted to the court is a hyperlinked exhibit list on disk (2
                                   copies) and no hard copies
Monday, April 20, 2026             Deposition Designation due. Each party who proposes to
                                   offer a deposition shall serve on all other parties a disclosure
                                   identifying the line and page numbers to be offered. All other
                                   parties will have seven calendar days to serve a response with
                                   any objections and request cross- examination line and page
                                   numbers to be included. Counsel must consult on any
                                   objections, and only those which cannot be resolved shall be
                                   presented to the Court.

                                   The party who filed an initial Video Deposition Designation
                                   is responsible for preparation of the final edited video in
                                   accordance with all parties’ designations, the applicable
                                   Federal Rules of Civil Procedure, and the Court’s rulings on
                                   objections.
Monday, May 4, 2026                Response to motions in limine due.

                                   File objections to witnesses, deposition extracts, and exhibits,
                                   listed in pre-trial order. (This does not extend the deadline to
                                   object to expert witnesses). If numerous objections are filed
                                   the court may set a hearing prior to the final pretrial
                                   conference. File Proposed Jury Instructions/Form of Verdict

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                               (or Proposed Findings of Fact and Conclusions of Law).

                               If Parties will be requesting daily copy of the transcript
                               during trial, they must notify the Court’s court reporter, Chris
                               Bickham, Chris_Bickham@txed.uscourts.gov, by this date.
Monday, May 18, 2026           Final Pretrial Conference at 9:00 a.m. at the Paul Brown
                               United States Courthouse, 101 E. Pecan Street, Sherman,
                               Texas 75090.
TBD                            10:00 a.m. Jury Selection and Trial at the Paul Brown United
                               States Courthouse located at 101 East Pecan Street in
                               Sherman, Texas.




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